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                                 ATTORNEY DECLARATION




       I am an attorney in good standing in New Jersey and Pennsylvania and have been

practicing law for 33 years, 21 years with the Department of Justice.


       I am currently serving in a pro bono capacity representing Kenneth Harrelson in District

of Columbia v. Proud Boys (21-cv-03267 Mehta). This followed a substantially pro bono

representation of Kenneth Harrelson in United States v. Caldwell (22-cr-15 Mehta). I also

represented Richard Barnett in US v. Barnett (21-cr-38 Cooper), Eric Christie in US v. Christie

(23-cr-0005 Mehta) and currently represent Ryan Nichols in US v. Nichols and Harkrider (21-cr-

117 Lamberth).


       I seek to join my esteemed colleagues in representing Steven Baker because Mr. Baker is

being prosecuted in his capacity as a journalist, which has been deemed to be a concerning

development by the FormerFedsGroup Freedom Foundation at FormerFeds.Org.
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       I am not receiving compensation from the Foundation. It is an honor to represent Steve

Baker and to appear in Judge Cooper’s Court once again.




                                                   Very truly yours,

                                                   FormerFedsGroup.Com LLC
DATE: March 13, 2024                               By: _/s/ Brad Geyer___________________
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